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                                  UNITED STATES DISTRICT COURT
                                     D ISTR ICT O F NEV A DA
     UNITED STATESOFAM ERICA,                    )
                                                 )
                   Plaintiff,                    )
          v.                                     )
     JYOTHIP                                     )         2:08-CR-064-RLH (GW F)
            ANIKKAR,                             )
                                                 )
                        Defendant.         '     )
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                                    O R DER O F FO R FEITU RE

13        This Courtfound on November l9,2010,thatJYOTHIPANIKKAR,shallpay a crim inal
     forfeitmemoneyjudgmentof$349,942.85inUnitedStatesCun-ency,pursuanttoFed.R.Crim.P,
15 32.
     2(b)(l)and(2);Title18,United StatesCode,Section981(a)(1)(C)andTitle28,UnitedStates
     Code,Section 2461(c);Title 18,United StatesCode,Section982(a)(2)(A);and Title2l,United
     StatesCode,Section 8534J9.
          THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thattheUnited

     Statesrecoverfrom JYOTHIPANIKKAR,acriminalforfeituremoneyjudgmentintheamotmtof
     $349,942.85inUnitedStatesCurrencyptlrsuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Tit1e18,
21 UnitedStatesCode,Section98l(a)(l)(C)andTitle28,UnitedStatesCodesSection2461(c);Title
     18,United StatesCode Section982(a)(2)(A);andTitle21,UnitedStatesCode,Section 853(p),
          DATED this         day of                    , 012.
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                                                  D S ATES D TRICT JUDGE
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